              UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF WISCONSIN

 UNITED STATES OF AMERICA,

                     Plaintiff,
                                                 Case No. 97-CR-98-10-JPS
 v.

 DAVID A. KADLEC,
                                                                  ORDER
                     Defendant.


      On December 7, 2021, Defendant filed a motion for compassionate

release and a motion to appoint counsel. ECF No. 2266. The Court referred

the motion to Federal Defender Services of Wisconsin, Inc. (“FDS”) for

review. ECF No. 2267. On January 11, 2022, FDS informed the Court that it

has a conflict in this matter, but requested that the Court order the

appointment of counsel. ECF No. 2268. On February 14, 2022, the

Government responded to the motion, arguing, in part, that Defendant

failed to exhaust his administrative remedies. ECF No. 2275.

      After reviewing the record, on February 23, 2022, the Court denied

Defendant’s motion without prejudice. ECF No. 2277. The Court held that

“Defendant does not show that he has exhausted his administrative

remedies on anything other than the potential effects of COVID-19 on his

health”; nonetheless, his motion “raises different concerns, including a

claim of substandard medical care and the lingering effects from injuries he

suffered in an April 2021 assault.” Id. at 2. Because an inmate seeking

compassionate release “must exhaust his administrative remedies as to each

reason on which he seeks compassionate release,” the Court instructed

Defendant that he may reattempt to exhaust his administrative remedies



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and then “bring a new motion for compassionate release.” Id. at 2, 4 (citing

United States v. Williams, 987 F.3d 700, 703 (7th Cir. 2021)). The Court also

referred the matter to Magistrate Judge Stephen C. Dries for appointment

of counsel. Id. Thereafter, Attorney Kathleen Quinn was appointed to

represent Defendant with respect to any future motion for compassionate

release. ECF No. 2279.

       Now before the Court is Defendant’s renewed motion for

compassionate release, filed pro se, as well as a motion to appoint new

counsel.1 ECF No. 2305. The renewed motion for compassionate release is

two pages long. Id. Therein, Defendant explains that he has now exhausted

his administrative remedies, and lists four brief allegations regarding the

conditions at his institution. Id. Thus, the Court is left unsure as to whether

the newly-filed document is intended to be a standalone motion for

compassionate release, or a supplement to the prior motion for

compassionate release. If it is the latter, Defendant must re-file within thirty

(30) days the motion with all of its component parts within one document.

If it is the former, Defendant must so inform the Court within thirty (30)

days. With either filing, Defendant must include proof of his administrative

exhaustion so that the Court may satisfy itself that the defects present in the

earlier motion have been resolved.

       Once Defendant has either re-filed the motion with all of its

component parts within one document, or filed a statement informing the

Court that his renewed motion is to stand alone (and, in either case,

       1 In support of his motion to appoint new counsel, Defendant avers that (1)
his counsel has scheduled multiple phone calls with him, but did not call; (2) his
counsel scheduled multiple appointments with him, but did not keep them; and
(3) his counsel repeatedly informed him that she would send him a copy of the
Government’s response to his motion, but never did so. ECF No. 2305 at 2.


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accompanied by proof of administrative exhaustion), the Court will

consider Defendant’s motion to appoint new counsel.

      Accordingly,

      IT IS ORDERED that Defendant, within thirty (30) days, either re-

file his motion for compassionate release with all of its component parts

within one document, or inform the Court that his renewed motion is

intended to standalone, and in either case accompany the filing with proof

of administrative exhaustion. If Defendant does not do so, the Court will

deny the pending newly-filed two-page motion, ECF No. 2305, without

prejudice.

      Dated at Milwaukee, Wisconsin, this 7th day of September, 2022.

                                 BY THE COURT:




                                 J.P. Stadtmueller
                                 U.S. District Judge




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